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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 12-81033-CIV-MIDDLEBROOKS

   SECURITIES AND EXCHANGE COMMISSION,

                    Plaintiff,

   v.

   JOSEPH HILTON, f/k/a JOSEPH YURKIN,
   PACIFIC NORTHWESTERN ENERGY LLC, et al.

               Defendants.
   __________________________________________/

                              RECEIVER’S FINAL STATUS REPORT AND
                                MOTION TO CLOSE RECEIVERSHIP

           David S. Mandel, the Court-appointed Receiver (“Receiver”) for Defendants Pacific

   Northwestern Energy LLC, Rock Castle Drilling Fund LP, Rock Castle Drilling Fund II LP, and

   Rock Castle Drilling Fund III LP (hereinafter the “Receivership Entities” or “Pacific

   Northwestern”), by and through undersigned counsel, hereby files this Final Status Report to

   inform the Court of his activities to date, and moves the Court to enter an order 1) directing the

   Receiver to take any further actions he may deem necessary to conclude the business of the

   Receivership; and 2) relieving the Receiver of any further obligations with regard to this matter.

   I.      SUMMARY

           The Receiver believes that he has fully satisfied or, as explained herein, has made the

   necessary preparations to satisfy his obligations in this matter. Among other tasks, he has:

           1) marshaled, liquidated and safeguarded all receivership assets;

           2) investigated the business of the Receivership Entities and potential claims that the

   Receiver might bring on behalf of Pacific Northwestern;

           3) instituted and settled legal proceedings for the benefit of Pacific Northwestern;


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           4) accounted for Pacific Northwestern’s funds and filed all required tax returns;

           5) established and implemented a claims process; and

           6) made a full distribution to 94 approved claimants in the total amount of $133,974.05.

           Furthermore, the SEC has previously settled its claims against the Defendants and has

   advised the Receiver that it consents to the termination of the Receivership as provided herein.

   Accordingly, the Receiver files this Final Report and respectfully moves this Court to enter the

   orders the Receiver believes necessary to conclude this matter.

   II.     FINAL REPORT

           A.       Final Fee Motions

           The Receiver, his counsel and forensic accountants have filed their final fee applications

   simultaneously with this Final Report. The Receiver respectfully requests that the Court rule

   upon these motions when the Court reviews this Final Report and resolves the Motion to Close

   the Receivership. The termination of the Receivership cannot be accomplished until the Court

   rules on these motions.

           B.       Procedural Background

           As set forth in greater detail in the Receiver’s periodic status reports (see, e.g., D.E. 51,

   86, 127, 156, 179, 199), at the start of this litigation, the Court entered a temporary restraining

   order against the Defendants and froze the Defendants’ assets. D.E. 12. The Court appointed

   David S. Mandel as the Receiver for the Receivership Entities (the “Receivership Order”). D.E.

   11. Following the Defendants’ consent, the Court entered Preliminary Injunctions, preserving

   the status quo regarding all matters set forth therein. D.E. 23, 25-27. Subsequently, the Court

   entered Permanent Injunctions as to Defendants Hilton, New Horizon Publishing Inc., and the

   Receivership Entities. D.E. 76, 79, 98.



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            In furtherance of the Receivership Order, the Receiver pursued various avenues to recoup

   receivership assets from John Conley and CNG Technology, who were held in contempt by this

   Court.    See D.E. 116, 137, 157.            After extensive litigation and a show cause hearing on

   September 4, 2014, the Court ordered Conley and CNG Technology to pay $62,000 to the

   Receiver as well as a daily $100 penalty until compliance was completed. Finally, after repeated

   delays, on December 4, 2014, the Receiver received a $62,000.00 cashier’s check from Conley.

   Additionally, pursuant to the Court’s Order (D.E. 191), the Receiver conducted an auction and

   completed the sale of the Receivership’s interests in certain oil wells in Kentucky (D.E. 198).

            C.      Claims and Distribution Process

                             1.       Claims Process

            On June 19, 2015, the Court entered the Order Authorizing Claims Process (D.E. 183),

   setting up the procedure for the submission and determination of claims submitted by victim-

   investors and creditors. The Receiver sent claim forms to every Pacific Northwestern investor

   and to other potential claimants and creditors.                The Claim form was also posted on the

   Receivership website. All claims were reviewed and objections presented to the Court in the

   Receiver’s Motion for Determination of Allowed Claims and the Receiver’s supplemental filing.

   D.E. 197, 204.

            On July 18, 2016, the Court issued its Order Granting the Receiver’s Motion for

   Determination of Allowed Claims, ruling that the amount of each investment would be

   recognized as the claim amount and distributions would be made on a pro rata basis to approved

   claimholders. D.E. 206. CNG Technology’s claim was denied in its entirety.




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                             2.       Distribution Process

           Pursuant to the Court’s Order, on December 14, 2016, the Receiver made the

   distributions to the 94 approved claimants.                    The total amount of allowed claims was

   approximately $133,974.05, which constituted a 9% distribution rate.

                             3.       Receiver’s Additional Efforts

           Since the distribution, the Receiver, his counsel and his accountants have communicated

   with investors over various matters relating to the distribution, including confirming addresses,

   receipt of checks, and similar matters. Of the 94 checks that were issued totaling $133,974.05,

   one check was never cashed, totaling $674.12. After repeated efforts to contact this creditor, the

   Receiver learned this creditor had passed; the Receiver has been unsuccessful in locating any

   surviving family members or heirs.

           D.       The Receiver Has Accounted for the Assets and Liabilities of the
                    Receivership Estate

           The Receiver has marshaled and safeguarded all assets of Pacific Northwestern and has

   identified the Receivership’s liabilities.

           Paragraph 3 of the Receivership Order directs the Receiver to, in the relevant part:

                    Present to this Court a report reflecting the existence and value of
                    the assets of Pacific, Rock Castle I, and Rock Castle II, and of the
                    extent of liabilities, both those claimed to exist by others and those
                    which the Receiver believes to be legal obligations of Pacific,
                    Rock Castle I, and Rock Castle II[.]

   D.E. 11 at ¶ 3. The Receiver attaches as Exhibit 1 to this Report a schedule of the distributions

   sent to claimants.

           The Receivership’s assets included:

                    Bank Accounts. Funds in the accounts of Pacific Northwestern,
                    frozen pursuant to the TRO and transferred to the control of the
                    Receiver;


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                    Oil Well Production and Auction Proceeds. The proceeds of
                    various oil wells in which Receivership Entities had an interest,
                    and property of Pacific Northwestern sold by the Receiver at
                    auction; and

                    Litigation settlements and proceeds. The proceeds of litigation
                    settlements, and contempt proceedings against Jon Conley and
                    CNG Technology by the Receiver.

   The liabilities included:

                    Approved Claims. The total of all claims approved by the Court.
                    This total liability to defrauded investors far exceeded the assets of
                    the Receivership estate. To date, the Receiver has made pro rata
                    payments on these claims totaling $133,974.05;

                    General Disbursements. Payments made by the Receiver for
                    services incurred by the Receiver and in payment of taxes;

                    Paid Professional Fees. Payments made pursuant to Court order
                    as compensation to the Receiver, his counsel, forensic accountant
                    and computer consultant;

                    Professional Fees. The final fee amounts of approximately
                    $7,295.89 in compensation requested by the Receiver, his counsel,
                    and his forensic accountants exceed the amount leftover in the
                    Receivership.

           Here is a summary of the Receivership’s receipts and disbursements:

           Receipts:

                    Turnover of funds from frozen accounts                               $485,562.37
                    Litigation settlements                                                 64,000.00
                    Asset sales from auction                                               25,000.00
                    Oil production proceeds                                                21,273.13
                    Turnover of funds from CNG Technology                                   8,355.57

                    Total Receipts                                                       $604,191.07

                    Disbursements:
                    Professional fees and expenses                                        430,830.17
                    Distributions to general unsecured creditors                          133,299.93
                    Receiver fees                                                          32,730.00
                    R & S Energy, Return of escrow deposit                                  2,000.00

                    Total Disbursements                                                   598,860.10

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                    Cash Balance as of March 29, 2017                              $ 5,330.97

           In conclusion, over the course of the Receivership the total estimated assets of Pacific

   Northwestern were $604,191.07. Disbursements to date including distribution of claims, and

   payment of professional fees and expenses totaling $598,860.10. If this Court grants the

   contemporaneous motions for final payments to the Receiver, his counsel, and forensic

   accountant, payment of those fees will bring total disbursements to date to approximately

   $604,191.07, and no funds will remain in the Receivership. In the end, the Receiver distributed

   $133,299.93 to holders of Approved Claims.

           Because the Receivership lacks sufficient funds to fully compensate the Receiver’s

   counsel and his forensic accountants for services rendered during the fee application period, as

   described more fully in the recently filed fee applications, the Receiver requests that the

   remaining funds be divided on a pro-rata basis between Mandel & Mandel LLP and

   KapilaMukamal.

           E.       The Receiver has filed all necessary tax returns.

           On behalf of the Receiver, KapilaMukamal, the Receiver’s forensic accountants,

   prepared and filed federal and state tax returns for Pacific Northwestern for the years 2012

   through 2016.

   IV.     THE RECEIVER’S MOTION TO TERMINATE THE RECEIVERSHIP AND
           RELIEVE THE RECEIVER OF ALL FURTHER OBLIGATIONS

           For the reasons stated herein, the Receiver respectfully requests to be relieved of all

   further duties and obligations as Receiver in this matter. Counsel for the Receiver has conferred

   with counsel for the SEC, Amie Riggle Berlin, Esq., who has reviewed this Final Report and

   Motion and has advised the Receiver that the SEC has no objection to the Report or the relief

   sought herein.

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   V.      NOTIFICATION OF ALL APPROVED CLAIMANTS

           The Receiver will post a copy of this Final Report and Motion to Close the Receivership

   on the Receiver’s Website (http://www.pacificnorthwesternreceivership.com/ ).

           WHEREFORE, the Receiver respectfully requests that this Court enter an Order

   approving this Final Report and granting the motions made herein. A proposed order is provided

   for the convenience of the Court. It has been an honor to serve this Court as Receiver.

                                                        Respectfully submitted,

                                                        MANDEL & MANDEL LLP
                                                        Counsel for the Receiver, David S. Mandel

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                                               By:      /s/ Nina Stillman Mandel
                                                        NINA STILLMAN MANDEL
                                                          Florida Bar No.: 843016


                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by

   CM/ECF filed this 14th day of April, 2017.

                                                                           /s/ Nina Stillman Mandel
                                                                           NINA STILLMAN MANDEL




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